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 3
                                UNITED STATES DISTRICT COURT
 4                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 5
     _______________________________________
 6                                          )
     UNITED STATES OF AMERICA,              )               Case No. MC22-0032RSL
 7                                          )
                           Plaintiffs,      )
 8              v.                          )
                                            )               ORDER TO ISSUE WRIT OF
 9   ANTHONY EDWIN PAUL,                    )               CONTINUING GARNISHMENT
                                            )
10                         Defendant,       )
                v.                          )
11                                          )
     BLOCK, INC.,                           )
12                                          )
                           Garnishee.       )
13   _______________________________________)
14
           This matter comes before the Court on plaintiff’s “Application for Writ of Continuing
15
     Garnishment” for property in which the defendant/judgment debtor, Anthony Edwin Paul, has a
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     substantial nonexempt interest and which may be in the possession, custody, or control of the
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     garnishee, Block, Inc.. The Court having reviewed the record in this matter, hereby ORDERS
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     that the Clerk of Court issue the “Writ of Continuing Garnishment” (Dkt. # 1-3) and the “Notice
19
     to Defendant/Judgment Debtor” (Dkt. # 1-4) submitted by plaintiff’s counsel on March 25, 2022.
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     Pursuant to 28 U.S.C. § 3205(c)(3), plaintiff shall serve the defendant/judgment debtor and the
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     garnishee with a copy of the writ and accompanying instructions.
22
23         Dated this 29th day of March, 2022.
24
                                              Robert S. Lasnik
25                                            United States District Judge
26



     ORDER TO ISSUE WRIT OF GARNISHMENT
